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 6

 7

 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                CASE NO. 2:07-CR-00234 TLN
12                                          Plaintiff,        STIPULATION REGARDING
                                                              CONTINUANCE OF ADMIT OR
13   v.                                                       DENY HEARING; FINDINGS AND
                                                              ORDER
14   EVA MARTINEZ,
15                                          Defendant.
16

17             Defendant, EVA MARTINEZ, by and through her counsel of record, TONI WHITE, and the

18 GOVERNMENT hereby stipulate as follows:

19             1.        By previous order, this matter was set for admit or deny hearing on June 15, 2016.

20             2.        By this stipulation, defendant now moves to continue the admit or deny hearing until

21 July 28, 2016, at 9:30 a.m.. Because we are scheduled for an admit/deny hearing, no time exclusion

22 is necessary. Ms. Martinez, through counsel, waives any due process claim that could otherwise arise

23 from the delay and is, in fact, requesting this additional time for her counsel to be prepared. The

24 GOVERNMENT does not oppose this request.

25             3.        The parties agree and stipulate, and request that the Court find the following:

26                       a.        A psychological examination of Ms. Martinez has been requested but not yet

27 completed. Defense counsel believes it would be more beneficial to have the psychological results of

28 the examination before determining which allegations to admit as Ms. Martinez’ psychological
                                                   1
          Stipulation and Order for Continuance of Status
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 1 issues may have affected the behavior that is the basis of those allegations. Defense counsel spoke

 2 with Dr. Jennie Singer who has been appointed to conduct the evaluation. Dr. Singer indicated last
                                                                                           th.
 3 week that she had an appointment to interview Ms. Martinez at the jail on Friday June 10 More

 4 time will be needed for the psychological report to be completed. Defense counsel needs more time

 5 to prepare the case prior to an admit or deny hearing.

 6                    b.        Counsel for defendant believes that failure to grant the above-requested

 7 continuance would deny her the reasonable time necessary for effective preparation, taking into

 8 account the exercise of due diligence.

 9                    c.        The GOVERNMENT does not object to the continuance.

10                    d.        The GOVERNMENT and counsel for the defendant are working toward

11 resolution of the case.

12          IT IS SO STIPULATED.

13          Dated: June 13, 2016                                   BENJAMIN B. WAGNER
                                                                   United States Attorney
14
                                                                   By:    /s/ Toni White for
15
                                                                   TIMOTHY DELGADO
16                                                                 Assistant U.S. Attorney

17                                                                 For the United States
18          Dated: June 13, 2016                         By:       /s/ Toni White _
                                                                   TONI WHITE
19                                                                 For the Defendant Eva Martinez
20

21

22                                                       ORDER
23          IT IS SO FOUND AND ORDERED this 14th day of June, 2016.
24

25

26
                                                                         Troy L. Nunley
27                                                                       United States District Judge
28
                                                               2
       Stipulation and Order for Continuance of Status
       Hearing and for Exclusion of Time
